Case: 1:22-cv-00204-MRB-SKB Doc #: 34-3 Filed: 01/25/23 Page: 1 of 1 PAGEID #: 442




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    Delivery to these recipients or groups is complete, but no delivery notification
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                                                                                Exhibit C
